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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                       )
                                                ) Criminal No. 20-07
                        Plaintiff,              )
                                                )
       v.                                       )
                                                )
TAMMIE BROLIN,                                  )
                                                )
                        Defendant..             )
                                                )
                                                )


                         DEFENDANT, TAMMIE BROLIN’S, POSITION
                         WITH RESPECT TO SENTENCING FACTORS


       AND NOW comes Defendant, Tammie Brolin, by and through her attorney, Martin A.
Dietz, Esquire, and informs the Court that she has no objections or corrections to the Presentence

Investigation Report.


                                                    Respectfully submitted,
                                                     s/ Martin A. Dietz        _
                                                    Martin A. Dietz, Esquire
                                                    Pa. I.D. No. 69182

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                                                    Attorney for Defendant,
                                                    Tammie Brolin
